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     Attorneys for RICKY REYNOLDS
5

6                               UNITED STATES DISTRICT COURT

7                              EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA                         Case No. 1:15-cr-00104-AWI-SKO
9                                     )
                           Plaintiff, )               STIPULATION TO MODIFY
10                                    )               CONDITIONS OF PRETRIAL RELEASE
                     vs.              )               AND ORDER THEREON
11                                    )
     RICKY REYNOLDS,                  )
12                                    )
                           Defendant. )
13   ________________________________ )
14          IT IS HEREBY STIPULATED by and between the parties hereto through their

15   attorneys of record that RICKY REYNOLDS’ pretrial release condition (h) that reads

16   “The defendant shall submit to drug or alcohol testing as approved by the Pretrial

17   Services Officer. . . .” be deleted.

18          All other previously ordered conditions of release, not in conflict with this order,

19   shall remain in full force and effect.

20          Ryan Beckwith, United States Pretrial Services officer, has been informed of this

21   request and is not opposed thereto.

22   Dated: July 26, 2016.                      PHILLIP A. TALBERT, Acting U.S. Attorney

23                                              /s/ Melanie Alsworth

24                                              BY: MELANIE ALSWORTH,
                                                Assistant United States Attorney
25                                              Attorney for Plaintiff
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     STIPULATION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND ORDER THEREON
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2    Dated: July 26, 2016.                  /s/ Daniel A. Bacon

3                                           DANIEL A. BACON,
                                            Attorney for Defendant
4                                           RICKY REYNOLDS
5
                                            ORDER
6

7                 IT IS SO ORDERED.
8
                                                 Dated:   July 28, 2016
9
     /s/
10                                                                     UNITED STATES
     MAGISTRATE JUDGE
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     STIPULATION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND ORDER THEREON      2
